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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA,
V.
ANTHONY GRIFFITH,
Defendant.

Criminal Action No, 21-730-2 (CKK)

 

 

ORDER
(May 16, 2023)

For the reasons stated in the accompanying Findings of Fact and Conclusions of Law, it
is hereby
ORDERED, that Defendant’s oral Rule 29 motion for judgment of acquittal is DENIED.

SO ORDERED.

Dated: May 16, 2023 ( yf KM CLG

COLLEEN KOLLAR-KOTELLY
United States District Judge
